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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                      District District
                                                  __________   of Massachusetts
                                                                        of __________

    AMERICAN CIVIL LIBERTIES UNION OF
 MASSACHUSETTS AND AMERICAN OVERSIGHT                                )
                                                                     )
                             Plaintiff
                                                                     )
                                v.                                   )      Civil Action No. 1:21-cv-10761
 UNITED STATES IMMIGRATION AND CUSTOMS                               )
              ENFORCEMENT                                            )
                            Defendant
                                                                     )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Nathaniel R. Mendell
                                         Acting U.S. Attorney for the District of Massachusetts
                                         John Joseph Moakley U.S. Federal Courthouse
                                         1 Courthouse Way, Suite 9200
                                         Boston, MA 02210



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Krista Oehlke                                    .DWKHULQH0$QWKRQ\
                                         Daniel L. McFadden                         &RXQVHOIRU3ODLQWLII$PHULFDQ2YHUVLJKW
                                         Matthew R. Segal                           WK6WUHHW1:%
                                         Counsel for ACLU Foundation of MA          :DVKLQJWRQ'&
                                         211 Congress Street                          
                                         Boston, MA 02110 617.482.3170              NDWKHULQHDQWKRQ\#DPHULFDQRYHUVLJKWRUJ
                                         LPFIMLF!BDMVNPSH
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
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